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                                   United States District Court
                                    Southern District of Ohio
                               Eastern Division at Columbus, Ohio

Root, Inc. et al

-vs-                                                             Case No. 2:23-CV-512

Silver, et al


                                    SHOW CAUSE HEARING


 U.S. District Judge Sarah D. Morrison               Date: June 20, 2023, at 10:30 a.m.
 Deputy Clerk         Maria Rossi                    Counsel for Plaintiff:   Bill Kloss, Liz Alexander,
                                                                              Tiffany Cobb
 Court Reporter       Allison Kimmel                 Counsel for Deft(s):      Matt Jalandoni, Ben Reese
                                                                               For William Campbell:
                                                                               Matt Ridings
 Interpreter                                         Receiver:                 Jerry Peer, Gregory
                                                                               Peterson, Istvan Gajary,
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Defendant Brinson Silver appeared.
Gregory Peterson, Istvan Gajary and Jerry Peer presented to the Court on behalf of the Receiver.
Matt Jalandoni presented on Mr. Silver’s Motion to Modify the Receivership.
Mr. Jalandoni submitted to the Court one document supporting Mr. Silver’s monthly expenditures and a
separate document depicting his financial accounts and obligations.
Brinson Silver was placed under oath answered questions asked to him by the Court.
Bill Kloss presented to the Court on Root’s response to Silver’s Motion to Modify the Receivership.
The Court asked Matt Ridings, counsel for Defendant William Campbell and Quantasy, if he wished to speak
and he made a brief statement.
The Court found Brinson Silver in Civil Contempt and ordered him held in the custody of the U.S. Marshal
until he produces the information and documentation requested by the Receiver.
